    Case 1:18-mj-00018-JFA Document 2 Filed 01/13/18 Page 1 of 8 PageID# 2


                                      L0=81


                     INTHE UNITED STATES DISTRICT COURT FOR THE

                                EASTERN DISTRICT OF VIRGINIA
                                                                                   r                         -I    '
                                                                                   i- - r
                                                                                                                  If
                                              Alexandria Division                  r:                   13
UNITED STATES OF AMERICA                                   UNDER SEAL
                                                                                       C'J
                                                                                             ALfF^' •
                V.                                         Criminal No. 1:18"CR-
                                                                        I/?- WT- /F
JERRY CHUN SHING LEE, aka
Zhen Cheng LI

                          Defendant                 )

                                  AFFIDAVIT IN SUPPORT OF
   AN APPLICATION FOR A CRIMINAL COMPLAINT AND ARREST WARRANT

         I, Kellie R. O'Brien, being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

         1.     I am a Special Agent with the FBI, and have been since 1999. Since 1999,1 have

been assigned to the Washington Field Office (WFO). I worked in the Criminal Division of

WFO from 1999 to 2007, and since 2007 have been assigned to the Counterintelligence Division,

where I investigate offenses involving espionage and the unlawful retention or disclosure of

classified information.


         2.     I have training in the preparation, presentation, and service of criminal

complaints, and have been involved in the investigation of numerous types of offenses against

the United States. I have also been trained in the preparation, presentation, and service of arrest

and search warrants, and have executed both arrest warrants and search warrants in previous

cases.



         3.     The facts in this affidavit are based on my personal observations, my training and

experience, and information obtained from other witnesses and law enforcement agents. This
    Case 1:18-mj-00018-JFA Document 2 Filed 01/13/18 Page 2 of 8 PageID# 3



affidavit is intended to show merely that there is sufficient probable cause for the requested

criminal complaint and warrant. It does not set forth all of my knowledge about this matter.

                                   PURPOSE OF AFFIDAVIT


       4.       Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that JERRY CHUN SHE^G LEE, a.k.a. Zhen Cheng Li, (LEE)

violated 18 U.S.C. § 793(e) (unlawful retention of national defense information), I therefore

make this affidavit in support of a criminal complaint charging LEE with this offense.

                      STATUTORY AUTHORITY AND DEFINITIONS

          5.    For the reasons set forth below, there is probable cause to believe that LEE

committed violations of Title 18, United States Code, Section 793(e). Under 18 U.S.C. § 793(e),

"[wjhoever, having unauthorized possession of, access to, or control over any document,

writing        or note relating to the national defense, .... willfully retains the same and fails to

deliver it to the officer or employee of the United States entitled to receive it.. . shall be fined

under this title or imprisoned not more than ten years or both[.]"

          6.    Under Executive Order 13526, information in any form may be classified if it: (1)

is owned by, produced by or for, or is under the control of the United States Government; (2)

falls within one or more of the categories set forth in the Executive Order [Top Secret, Secret,

and Confidential]; and (3) is classified by an original classification authority who determines that

its unauthorized disclosure reasonably could be expected to result in damage to the national

security.

          7.    Where such unauthorized disclosure could reasonably result in damage to the

national security, the information may be classified as "Confidential" and must be properly

safeguarded. Where such unauthorized disclosure could reasonably result in serious damage to
    Case 1:18-mj-00018-JFA Document 2 Filed 01/13/18 Page 3 of 8 PageID# 4



the national security, the information may be classified as "Secret" and must be properly

safeguarded. Where such unauthorized disclosure could reasonably result in exceptionally grave

damage to the national security, the information may be classified as "Top Secret" and must be

properly safeguarded.

       8.     Classified information of any designation may be shared only with persons

determined by an appropriate United States Government official to be eligible for access, and

who possess a "need to know." Among other requirements, in order for a person to obtain a

security clearance allowing that person access to classified United States Government

information, that person is required to and must agree to properly protect classified information

by not disclosing such information to persons not entitled to receive it, by not unlawfully

removing classified information from authorized storage facilities, and by not storing classified

information in unauthorized locations.


                                     PROBABLE CAUSE


Relevant Party


       9.      LEE is a 53-year-old former case officer for the Central Intelligence Agency

(CIA), currently residing in Hong Kong and employed overseas. He is a naturalized United

States (U.S.) citizen. LEE served in the U.S. Army from 1982-1986. LEE graduated from

Hawaii Pacific University in 1992 with a bachelor's degree in International Business

Management and in 1993 received a master's degree in Human Resource Management.

       10.     LEE entered duty with the CIA in 1994. As a case officer, LEE was trained in:

methods of covert communications, surveillance detection, recruitment of assets, handling of

assets, payment of assets, operational security, and documenting, handling and securing
    Case 1:18-mj-00018-JFA Document 2 Filed 01/13/18 Page 4 of 8 PageID# 5



classified material. In the course of LEE's employment he served in various overseas positions

and locations, which all required a Top Secret clearance.

LEE's U.S. Government Security Clearances

       13.     As required for his various CIA assignments, in 1994 LEE first obtained a Top

Secret security clearance, which was active throughout his career with the CIA. LEE's security

clearance was terminated in 2007 when he left government service.

       14.     In addition to LEE's Top Secret clearance, he maintained sensitive

compartmented information (SCI) access to various sensitive programs. To obtain access to

these programs, LEE was required to receive and did receive numerous security clearance briefs

during his employment. To acquire his security clearance, LEE signed a life-time binding non

disclosure agreement (government Form368) on September 16,1994. Thisform, in part, read:

               I understand that in the course of my employment....I may be given access to
               information or material that is classified or is in the process of a classification
               determination...that if disclosed in an unauthorized manner would jeopardize
               intelligence activities of the United States Government....

               3. In consideration for being employed or otherwise retained to provide services
               to the Central Intelligence Agency, I hereby agree that I will never disclose in any
               form or any manner, to any person not authorized by the Central Intelligence
               Agency to receive it, any information or material in either of the following
               categories:
                      a. information or material received or obtained in the course of my
                       employment or other service with the Central Intelligence Agency that is
                       marked as classified or that I know is classified;
                       b. information or material received or obtained in the course of my
                       employment or other service with the Central Intelligence Agency that I
                       know is in the process of a classification determination....

               7.1 understand that all information or material that I may acquire in the course of
               my employment or other service with the Central Intelligence Agency that fits
               either of the categories set forth in paragraph 3 (paragraph 3 of this agreement)
               are and will remain the property of the United States Government, unless and
               until otherwise determined by an appropriate official or ruling of a court of law. I
               agree to surrender anything constituting, containing or reflecting such information
   Case 1:18-mj-00018-JFA Document 2 Filed 01/13/18 Page 5 of 8 PageID# 6



                 of the Central Intelligence Agency, or upon the conclusion of my employment of
                 other service with the Central Intelligence Agency, and at all times thereafter.


       15.     Additionally, through the course of LEE's career with the CIA, LEE signed

numerous SCI Nondisclosure Agreements (NDAs) (Form 4414), which read, in part:

                 2.1 hereby acknowledge that I have received a security indoctrination concerning
                 the nature and protection of SCI, including the procedures to be followed

                 3.1 have been advised that the unauthorized disclosure, unauthorized retention, or
                 negligent handling of SCI by me could cause irreparable injury to the United
                 States or be used to advantage by a foreign nation....

                 8. I understand that all information to which I may obtain access by signing this
                 Agreement is now and will remain the property of the United States Government
                 unless and until otherwise determined by an appropriate official....I agree that I
                 shall return all materials that may come into my possession or for which I am
                 responsible because of such access....

Court-Authorized Searches


             16. On or about August 10, 2012, LEE and his family departed Hong Kong and

transited back to the United States to live in northern Virginia. While transiting back to the

United States, LEE and his family had a lay-over in Honolulu, Hawaii for several days.

             17. On or about August 11, 2012, surveillance teams observed LEE staying at a hotel

 in Honolulu. LEE checked into and stayed at this hotel from August 11, 2012, through August

 14, 2012, according to records provided to the FBI by the hotel.

             18. On August 13, 2012, a court-authorized search of LEE's Honolulu hotel room and

 luggage was conducted. Photographs were taken documenting items in LEE's possession.

             19. On August 15, 2012, LEE and his family arrived in Virginia, and checked into a

 hotel in Fairfax, Virginia, within the Eastern District of Virginia. On August 15, 2012, a court-

 authorized search of LEE's hotel room was conducted.             Items in LEE's possession were

 photographed.
    Case 1:18-mj-00018-JFA Document 2 Filed 01/13/18 Page 6 of 8 PageID# 7



           20. The government's investigation determined that LEE was in unauthorized

possession of materials relating to the national defense during his hotel stays in Hawaii and

Virginia. A review of photographs taken during the August 13, 2012, search in Hawaii and the

August 15, 2012, search in Virginia revealed that, during his stay in both hotels, LEE possessed

two small books (the "books") best described as a datebook and an address book. Each book

contained handwritten notes. During both searches the books were located inside LEE's luggage

in a small, clear plastic travel pack.

           21. The photographs of the books were reviewed by a CIA classification authority

who determined that the books contained classified information.            The datebook contained

approximately forty-nine pages. Only pages with writing were photographed. The datebook

contained handwritten information pertaining to, but not limited to, operational notes from asset

meetings, operational meeting locations, operational phone numbers, true names of assets, and

covert facilities. The address book contained approximately twenty-one pages. The address

book contained true names and phone numbers of assets and covert CIA employees, as well as

the addresses of CIA facilities.         The CIA classification authority determined that the books

contained classified information, up to and including Secret information and, in at least one

instance. Top Secret information, the disclosure of which could cause exceptionally grave

damage to the National Security of the United States.

           22. Classified cables that LEE wrote when he was a case officer, which describe his

interactions with assets and information he learned from those meetings, and for which he was

the derivative classification authority, contain much of the information reflected in the books.

           23. Based upon the court-authorized search on August 15, 2012, LEE remained in

possession of the two books from Hawaii to the northern Virginia area. From August 15, 2012,
    Case 1:18-mj-00018-JFA Document 2 Filed 01/13/18 Page 7 of 8 PageID# 8



through June 6, 2013, LEE resided in the northern Virginia area. Before he returned to the

United States and throughout his residence in northern Virginia, LEE met with former colleagues

from the CIA and other government employees and remained in contact with these individuals.

Neither during these meetings nor other opportunities while in northern Virginia, did LEE ever

surrender or return the books to appropriate U.S. Government officials, as required under the

NDAs he signed.       Nor, in communications with former CIA colleagues and other U.S.

Government officials, did he mention that he was in possession of the books. Additionally, LEE

was interviewed by FBI agents on five separate occasions in or about May and June 2013 and

never suggested that he possessed these books.

                                CHARGES -18 U.S.C. S 793(e)


       24.     Having unauthorized possession of the books, which contained documents,

writings, and notes related to the national defense, LEE willfully retained the two books and

failed to deliver the materials to an officer or employee of the United States entitled to receive

them, in violation of 18 U.S.C. § 793(e).

                         CONCLUSION AND SEALING REQUEST


       25.     For all the reasons stated above, there is probable cause to believe that LEE,

having unauthorized possession of documents, writings, and notes relating to the national

defense, willfully retained them in violation of 18 U.S.C. § 793(e). This criminal violation was,

in part, committed in the Eastem District of Virginia.

       26.     I ask that this affidavit be sealed, until fiirther order of the court, to protect this

investigation. I am aware from my training and experience that evidence is destroyed,

individuals flee, and witnesses may be tampered with or become uncooperative when the details
      Case 1:18-mj-00018-JFA Document 2 Filed 01/13/18 Page 8 of 8 PageID# 9



known to law enforcement become prematurely available to the targets of a criminal

investigation.

          27.       I declare under the penalty of perjury that the information provided above is true

and correct.


                                                                Respectfully submitted.




                                                                Special Agent
                                                                Federal Bureau of Investigation
                                                                Washington, D.C.

 Sworn to and subscribed before me
this 13^"^ day ofJanuary 2018.


                ./S/.
John F. Anderson
tinitfiri States Magistrate .liiriQa
John F. Anderson
United States Magistrate Judge
